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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                     :
AKHMED GADZHIEVICH BILALOV,                                          :
                                                                     : 1:20-cv-09153-AT-JW
                                              Plaintiff,             :
                                                                     : Hon. Analisa Torres
                             -against-                               :
                                                                     :
HERMAN GREF, SBERBANK CIB USA, INC., :
SBERBANK OF RUSSIA PJSC, and DOES 1- :
100 inclusive,                                                       :
                                                                     :
                                              Defendants.            :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


                     MEMORANDUM OF DEFENDANTS
       SBERBANK OF RUSSIA, HERMAN GREF AND SBERBANK CIB USA, INC.
            IN OPPOSITION TO PLAINTIFF’S EMERGENCY MOTION
                 FOR AN ASSET FREEZE AND OTHER RELIEF


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       Pursuant to the Court’s order of March 9, 2022 (ECF No. 85), Defendants Herman Gref,

Sberbank of Russia (“Sberbank,” and together with Mr. Gref, the “Russian Defendants”) and

Sberbank CIB USA, Inc. (“SCIB,” and together with the Russian Defendants, the “Defendants”)

submit this memorandum in opposition to the application by Plaintiff Akhmed Gadzhievich

Bilalov for a temporary restraining order (“TRO”) and an order to show cause for a preliminary

injunction under Rule 65 of the Federal Rules of Civil Procedure.           ECF Nos. 81-84 (the

“Motion”).1

                                PRELIMINARY STATEMENT

       Plaintiff’s Motion seeks a broad-ranging asset freeze and a jumble of other relief that is

not only unwarranted and unnecessary but expressly forbidden under well-established Supreme

Court precedent. Plaintiff’s request for an asset freeze is legally flawed and should be denied for

three independent reasons.

       First, the requested asset freeze is barred by Supreme Court precedent, which

unequivocally prohibits a district court from using its injunctive powers to freeze assets where,

as here, the freeze is merely meant to preserve assets for a potential future money judgment.

       Second, Sberbank is an instrumentality of a foreign state and, under the FSIA, has a

specific immunity from attachment, distinct from its immunity from jurisdiction. This immunity

from attachment, which Plaintiff completely fails to address, also precludes the requested relief.

       Third, Plaintiff has not established the prerequisites for a TRO or preliminary injunction:

Plaintiff has not demonstrated a likelihood of success on the merits; Plaintiff has not

demonstrated irreparable harm; and the unbounded and vague relief requested—including an


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     The Russian Defendants expressly preserve all rights, privileges, defenses and immunities,
including the defenses of foreign sovereign immunity and lack of subject-matter and personal
jurisdiction under the Foreign Sovereign Immunities Act, 28 U.S.C. §§ 1330, 1602-1611 (the
“FSIA”).

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order freezing assets all assets under the Defendants’ control or held in their names, see Proposed

Order at 1 (ECF No. 84)—would impose unnecessary and undue hardship on Defendants and on

third parties who are not represented before this court.

       Plaintiff’s other requested relief also should be denied. Plaintiff has identified no need

for an emergency order that simply reiterates Defendants’ existing document-preservation

obligations. Nor has Plaintiff articulated any reason why expedited discovery is needed at this

time, or why such discovery is even permissible while a motion to dismiss under the FSIA is

pending.

                                          ARGUMENT

I.     Supreme Court Precedent Forbids Injunctions Freezing Assets to Secure Payment
       of a Potential Future Money Judgment

       The Supreme Court has made clear that district courts may not use their injunctive

powers under Rule 65 to freeze assets to satisfy a potential judgment for money damages. In

Grupo Mexicano De Desarrollo v. Alliance Bond Fund, 527 U.S. 308 (1999), the Supreme Court

held that a prejudgment injunction, which restricted the defendant from “dissipating, disbursing,

transferring, conveying, [or] encumbering” bond proceeds, violated the rule of equity that “a

general creditor could not interfere with the debtor’s use of his property.” Id. at 312, 322. Here,

as in Grupo Mexicano, Plaintiff seeks an injunction freezing Defendants’ assets because of a

purported concern that Defendants may be unable to satisfy a future money judgment. That is

precisely what the court in Grupo Mexicano held impermissible.

       The Second Amended Complaint (the “SAC”) purports to assert a claim for unjust

enrichment (Count IX), see SAC ¶¶ 220-24 (pp. 55-56), which is in theory an equitable claim;

but Plaintiff’s unjust enrichment claim, like all of Plaintiff’s other claims, requests money

damages and does not request any specifically identified equitable relief.        An asset freeze


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injunction in support of an equitable claim is possible “only if the plaintiff demonstrates a

‘nexus’ between the assets she seeks to freeze and the specific equitable claim….” Suber v. VVP

Servs., LLC, No. 20-cv-08177 (AJN), 2021 U.S. Dist. LEXIS 128427, at *6 (S.D.N.Y. July 9,

2021) (citing Coley v Vannguard Urban Improvement Ass’n, 2016 U.S. Dist. LEXIS 172378, at

*7-9 (Dec. 13, 2016) (collecting cases)).      In other words, a plaintiff must demonstrate an

equitable ownership interest in the “particular property” being frozen. R.B. Dev. Co. v. Tutis

Capital LLC, No. 12-CV-1460 (CBA) (SMG), 2012 U.S. Dist. LEXIS 85703, at *7 (E.D.N.Y.

June 20, 2012) (emphasis in original). Any asset freeze then has to be limited to that specific

property and must not include assets to secure a claim for general money damages. Spin Master

v. Aciper, No. 19-CV-6949 (VSB), 2020 U.S. Dist. LEXIS 206278, at *9 (S.D.N.Y. Nov. 4,

2020). Here, Plaintiff identifies no specific property in which he asserts an equitable interest to

be protected by an injunction. Instead, he asks for a freeze of all of Defendants’ assets globally

to address an asserted concern that Defendants may be unable to satisfy a future judgment for

money. Again, that is precisely what Grupo Mexicano forbids. 2

II.     Sberbank of Russia’s Assets Are Immune from Attachment or Similar Freezing
        Under the FSIA

        Plaintiff does not dispute that Sberbank is an agency or instrumentality of the Russian

Federation. See SAC ¶ 22 (“the Government of the Russian Federation [] owns 51% of the

bank”); Pl.’s Mem. in Supp. of Motion at 7 (ECF No. 82) (“Pl.’s Br.”) (arguing exceptions to the

FSIA apply, not that Sberbank is not presumptively immune); Pl.’s Opp. to Mot. to Dismiss for


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     In any event, Plaintiff’s unjust enrichment claim is not viable because it “simply duplicates[]
or replaces” Plaintiff’s fraud and conversion claims, Corsello v. Verizon N.Y., Inc., 18 N.Y.3d
777, 790-91 (2012), which would provide “an adequate remedy at law” if plaintiff were entitled
to any relief, Samiento v. World Yacht Inc., 10 N.Y.3d 70, 81 (2008). The unjust enrichment
claim is also time-barred and fails for additional reasons previously briefed. See SCIB Mem. in
Supp. of Mot. to Dismiss at 9-10 (ECF No. 62) (statute of limitations) & 28-29 (failure to satisfy
required elements).

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Lack of Subject-Matter Jur. at 3 (ECF No. 79) (same). The FSIA immunizes all assets of a

foreign state or its agencies or instrumentalities from attachment or execution unless a specific

exception set forth in 28 U.S.C. § 1610 is satisfied. 28 U.S.C. § 1609 (“the property in the

United States of a foreign state shall be immune from attachment, arrest and execution except as

provided in sections 1610 and 1611 of this chapter.”);3 S&S Mach. Co. v. Masinexportimport,

706 F.2d 411, 416 (2d Cir. 1983).

       The FSIA’s sole authorization for prejudgment attachments of a state defendant’s

property is in § 1610(d), which permits prejudgment attachments only if “the foreign state has

explicitly waived its immunity from attachment prior to judgment.” 28 U.S.C. § 1610(d). Here,

Sberbank has not “explicitly waived its immunity from attachment prior to judgment,” and

Plaintiff does not contend that it has done so. The FSIA therefore bars the relief that Plaintiff

seeks against Sberbank.

       Although Plaintiff has not in terms requested an “attachment,” the Second Circuit has

repeatedly held that the FSIA bars courts from granting relief that similarly has the effect of

restraining use of the assets of a foreign sovereign defendant prior to judgment. For example, in

S&S, the court explained that it was improper to enjoin a foreign state instrumentality from

negotiating a promissory note because “[t]he FSIA would become meaningless if courts could

eviscerate its protections merely by denominating their restraints as injunctions against the

negotiation or use of property rather than as attachments of that property.” 706 F.2d at 418.

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    Section 1610 sets out exceptions to immunity under § 1609, while § 1611 immunizes certain
types of property from attachment or execution notwithstanding § 1610.
    “Foreign state” for purpose of the FSIA is defined in 28 U.S.C. § 1603(a) to include
agencies and instrumentalities of a foreign state, such as Sberbank. See Moore v. National
Distillers & Chemical Corp., 143 F.R.D. 526, 534-35, 537-38 (S.D.N.Y. 1992) (granting
immunity from prejudgment attachment to agencies and instrumentalities); Concord Reinsurance
Co. v. Caja Nacional De Ahorro Y Seguro, 93 Civ. 6606 (JSM), 1994 U.S. Dist. LEXIS 2964, at
*5 (S.D.N.Y. Mar. 15, 1994) (same).

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Thus, the court held, “courts…may not grant, by injunction, relief which they may not provide

by attachment.” 706 F.2d at 418. Similarly, in Stephens v. National Distillers & Chemical

Corp., 69 F.3d 1226, 1229-30 (2d Cir. 1995), the Second Circuit held that an order requiring a

defendant to post pre-answer security was the equivalent of a prejudgment attachment and

therefore prohibited by the FSIA. Here too, Plaintiff seeks an order that would have the effect of

attaching property of an agency or instrumentality of a foreign state prior to judgment. As in

S&S and Stephens, such a result is prohibited by the FSIA.

III.     Plaintiff Cannot Satisfy the Requirements for a Temporary Restraining Order or
         Preliminary Injunction

         In any event, Plaintiff does not meet the requirements to obtain a TRO or preliminary

injunction. The standard for a TRO is the same as for a preliminary injunction. See, e.g.,

Benihana, Inc. v. Benihana of Tokyo, LLC, 784 F.3d 887, 895 (2d Cir. 2015). To obtain a TRO

or preliminary injunction, a plaintiff has the burden of establishing four elements: (1) a

likelihood of irreparable injury in the absence of the injunction; (2) a substantial likelihood of

success on the merits of its claims against defendants or “sufficiently serious questions going to

the merits to make them a fair ground for litigation and a balance of hardships tipping decidedly

in the plaintiff's favor;” (3) that the “balance of hardships tips decidedly in plaintiff’s favor;” and

(4) that “the injunction will not disserve the public interest.” Id. Plaintiff fails to establish any of

these elements.

         A.     Plaintiff Has Not Demonstrated Irreparable Injury

         “Irreparable harm is the single most important prerequisite for the issuance of a

preliminary injunction.” Sterling v. Deutsche Bank Nat’l Trust Co., 368 F. Supp. 3d 723, 727

(S.D.N.Y. 2019) (quoting Freedom Holdings, Inc. v. Spitzer, 408 F.3d 112, 114 (2d Cir. 2005)).

“If a party fails to show irreparable harm, a court need not [] address the remaining elements.”


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Coscarelli v. ESquared Hosp. LLC, 364 F. Supp. 3d 207, 221 (S.D.N.Y. 2019). Moreover, it is

not enough to show a mere possibility of irreparable harm; rather, Plaintiff has the burden of

proving that “irreparable injury is likely in the absence of an injunction.” Winter v. NRDC, Inc.,

555 U.S. 7, 22 (2008) (emphasis in original).

       Irreparable harm is “an injury that is not remote or speculative but actual and

imminent…for which a monetary award cannot be adequate compensation.” Dexter 345 Inc. v.

Cuomo, 663 F.3d 59, 63 (2d Cir. 2011). It is not enough for a plaintiff to raise general concerns

that the defendants might eventually be unable to pay. Rather, plaintiff has the burden of

proving, through evidence, that defendants are in the process of dissipating assets with the intent

to frustrate an eventual judgment. Spin Master, 2020 U.S. Dist. LEXIS 206278, at *13-14.

Plaintiff has made no such showing here.

       Plaintiff asserts that “based upon the reality of the economic sanctions against Russia, it

is highly likely that Bilalov would never be able to recover a judgment against the Defendants.”

Pl.’s Br. at 6-7. Plaintiff provides no evidence, and scarcely any argument, in support of this

extraordinary conclusion, but instead speaks of a generalized concern regarding international

events and speculates on the imposition of sanctions in the future, all of which are outside the

control of any Defendant.4 Plaintiff’s Motion, in other words, offers no non-speculative injury,

and instead presents the Court with only vague and unsupported insinuations of bad intentions on

Defendants’ part. This is wholly insufficient to support a TRO or preliminary injunction. See

Spin Master, 2020 U.S. Dist. LEXIS 206278, at *13-14 (“Plaintiffs’ sweeping statements about

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    In fact, Sberbank and SCIB have been subject to certain U.S. sanctions since 2014, and the
United States imposed certain additional sanctions on Defendant Sberbank, prohibiting U.S.
financial institutions from opening or maintaining a Sberbank correspondent account or
otherwise processing transactions involving Sberbank, which sanction takes effect on March 26,
2022. See U.S. Dep’t of Treas., Directive 2 Under Executive Order 14024 (Feb. 24, 2022),
available at https://home.treasury.gov/system/files/126/correspondent_accounts_directive_2.pdf.

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the practices of foreign corporations and counterfeiters in general are unsupported by evidence

and, more importantly, do not speak to the question of whether [defendant], a specific

corporation whose liability for counterfeiting is merely alleged, not established, is likely to

dissipate assets.”). As Plaintiff has not proffered any evidence suggesting Defendants will

attempt to frustrate a judgment (and for the avoidance of doubt, they have no such intention), he

has not demonstrated a likelihood of irreparable harm and cannot obtain a preliminary injunction.

       B.      Plaintiff Has Not Demonstrated a Likelihood of Success in the Action

       Even if Plaintiff can show irreparable harm, he may not obtain a TRO or preliminary

injunction unless he can show (a) a likelihood of success on the merits or (b) sufficiently serious

questions going to the merits to make them a fair ground for litigation and a balance of hardships

tipping decidedly in the movant’s favor. Benihana, 784 F.3d at 894 (2d Cir. 2015). Assertions

are insufficient to establish a likelihood of success on the merits; rather, “facts” must be

presented to “back [the moving party’s] assertions.” New York City Environmental Justice

Alliance v. Giuliani, 214 F.3d 65, 68 (2d Cir. 2000) (“the paucity of the evidence in the record

will prevent [the court] from holding that [the moving party] shown a likelihood of success.”)

(internal quotations and citations omitted).

       The requirement of likelihood of success applies to both jurisdictional requirements and

the underlying merits. A prima facie showing of jurisdiction is not enough. Weitzman v. Stein,

897 F.2d 653, 658-59 (2d Cir. 1990).

       As to subject-matter jurisdiction, the moving party must establish that the Court in fact

has subject-matter jurisdiction before the court grants any preliminary relief. See Park Place

Entm’t Corp. v. Arquette, 113 F. Supp. 2d 322, 323 (N.D.N.Y. 2000) (before considering

preliminary relief, the “[c]ourt has an independent duty to ensure that jurisdiction is

appropriate”); Rosenkrantz v. Inter-American Dev. Bank, Civil Action No. 20-3670 (BAH), 2021

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U.S. Dist. LEXIS 65482, at *23-24 (D.D.C. Apr. 5, 2021) (holding that “[b]efore evaluating the

availability of preliminary relief, the Court must first determine that it may properly exercise

jurisdiction over the action.”); see also Bolivarian Republic of Venezuela v. Helmerich & Payne

Int’l Drilling Co., 137 S. Ct. 1312, 1324 (2017) (“a court should decide the foreign sovereign’s

immunity defense at the threshold of the action.”) (internal quotations and citations omitted).

Thus, courts regularly consider and fully resolve questions of their subject-matter jurisdiction

before entering preliminary relief. See Ali v. Barr, 464 F. Supp. 3d 549, 556 (S.D.N.Y. 2020)

(preliminary injunction denied because court “lacks subject matter jurisdiction over the claims of

individual plaintiffs or the authority to issue the requested preliminary injunction”).5

       As to personal jurisdiction, a moving party must show at least a reasonable probability of

ultimate success on the question of the court’s in personam jurisdiction over the non-moving

party. Weitzman, 897 F.2d at 659.

       Plaintiff’s brief offers a lengthy rehashing of his allegations and jurisdictional arguments,

see Pl.’s Br. at 7-15, but fails to present any evidence in support of his claims. Nor does Plaintiff

address a single argument or case presented in Defendants’ extensive briefing in support of their

motions to dismiss.

       First, Plaintiff has not established that this Court has subject-matter jurisdiction to grant

preliminary relief (or any other relief) against the Russian Defendants.            As the Russian

Defendants illustrated in their briefing, the Commercial Activity Exception to jurisdictional



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     But see Vis Vires Grp., Inc. v. Endonovo Therapeutics, Inc., 149 F. Supp. 3d 376, 383-84
(E.D.N.Y. 2016) (“[W]here a challenge to jurisdiction is interposed on an application for a
preliminary injunction the plaintiff is required to adequately establish that there is at least a
reasonable probability of ultimate success upon the question of jurisdiction when the action is
tried on the merits.”) (quotations and citation omitted). Even if the Court were to apply this
lower standard, Plaintiff has not shown a reasonable probability of success in opposing the
motion to dismiss for lack of subject-matter jurisdiction.

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immunity under the FSIA does not apply because the “gravamen” of this suit are actions that

took place in Russia. See OBB Personenverkehr AG v. Sachs, 577 U.S. 27, 35 (2015); Russian

Defs.’ Br. in Supp. of Mot. to Dismiss for Lack of Subject-Matter Jur. at 4-6 (ECF No. 73);

Reply in Supp. of Mot. to Dismiss for Lack of Subject-Matter Jur. at 3-7 (ECF No. 80). Nor

does the Expropriation Exception apply, because this action concerns property allegedly taken by

a state from its own citizens. See Fed. Republic of Germany v. Philipp, 141 S. Ct. 703, 709, 711

(2021) (“a foreign sovereign’s taking of its own nationals’ property remains a domestic affair”).

Plaintiff addresses none of these authorities.

        Second, Plaintiff cannot show a reasonable probability of establishing personal

jurisdiction over the Russian Defendants. In fact, Plaintiff’s brief does not address personal

jurisdiction at all. In opposition to the Russian Defendants’ motion to dismiss, ECF No. 67 at

10-12, Plaintiff argued that personal jurisdiction could be asserted under N.Y. CPLR § 302(a),

Fed. R. Civ. P. 4(k)(2) or by virtue of “conspiracy jurisdiction.” In their opening brief at 13-19

(ECF No. 59) and reply brief at 8-11 (ECF No. 68) on their motion to dismiss, the Russian

Defendants provided the Court with the relevant case law refuting these alleged bases for

jurisdiction. Plaintiff’s latest brief provides no rebuttal.

        Third, Plaintiff has also not shown a likelihood of success on the underlying merits of his

claims. Under Grupo Mexicano, the only arguably relevant claim for this purpose is Plaintiff’s

purported equitable claim for unjust enrichment, but Plaintiff cannot possibly succeed on that

claim. See supra Part I. In any event, Plaintiff does not raise sufficiently serious questions, let

alone a likelihood of success, on the merits of any claim. Plaintiff’s claims stem from the

alleged misappropriation of shares in the Krasnaya Polyana property (which Plaintiff sometimes

alleges actually belonged to his brother, see SAC ¶ 45). By his own admission, Plaintiff was on



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notice of his putative claims no later than 2013, yet failed to timely assert them. Moreover,

Plaintiff’s litany of federal and state law claims fail to state a claim upon which relief may be

granted for a host of reasons, including failure to plead predicate acts, an enterprise, and a

domestic injury to business or property for the RICO claims, failure to plead a cognizable

violation of the law of nations for the Alien Tort Statute claim, and failure to plead a collateral

objective for the abuse of process claim. As to SCIB, the SAC fails even the liberal pleading

requirements of Rule 8(a) of the Federal Rules of Civil Procedure, as it alleges no facts and

merely recites the conclusion that SCIB was somehow used to launder the proceeds of

Defendants’ wrongs.     For a fuller recitation of the SAC’s failures to state a valid claim,

Defendants respectfully refer the Court to the extensive briefing (see ECF Nos. 59, 62, 68, 69)

demonstrating why each of the SAC’s causes of action should be dismissed.

       Finally, to obtain a TRO or preliminary injunction, it is not enough for Plaintiff to argue

that his claims can survive a motion to dismiss; rather, Plaintiff must present evidence that he is

likely to succeed on the merits after trial. Sterling, 368 F. Supp. 3d at 728 (“Plaintiff has not

provided any evidence that would allow this Court to make such a finding” of likelihood of

success on the merits) (emphasis in original and internal quotation and citation omitted). Here,

Plaintiff provides no evidence in support of his claims; rather he relies on the same threadbare

allegations that he makes in the SAC.

       C.      Plaintiff Has Not Demonstrated a Balance of Hardships in His Favor

       Plaintiff must show that the balance of hardships tips in his favor—and “decidedly” in his

favor if he has shown anything less than an actual likelihood of success on the merits. See, e.g.,

Christian Louboutin S.A. v. Yves Saint Laurent Am. Holding, Inc., 696 F.3d 206, 215 (2d Cir.

2012) (“The District Court may grant a preliminary injunction if the moving party

establishes…sufficiently serious questions going to the merits to make them a fair ground for

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litigation and a balance of hardships tipping decidedly toward the party requesting the

preliminary relief.”) (quotes and citation omitted).      Here, the balance of hardships favors

Defendants, not Plaintiff.

       Plaintiff requests an injunction that would effectively bar Defendants from conducting

their day-to-day business, serving their customers’ needs, and meeting their contractual

obligations to third parties. It requests a “freeze” of all of Defendants’ assets for an unspecified

length of time, covering, among other things, “all monies and assets…held in the name of, for

the benefit of, or over which account authority is held…managed or controlled” by Defendants,

anywhere in the world. See Proposed Order at 3.

       The hardships imposed by Plaintiff’s proposed injunction freezing all of Defendants’

assets would fall extremely heavily on Defendants, unnecessarily limiting or even shutting down

the conduct of their ordinary business operations or, in the case of Defendant Gref, preventing

him from paying daily living expenses. See Sec. Pac. Nat’l Bank v. Nyland, Ltd., 91 Civ. 2647

(PNL), 1991 U.S. Dist. LEXIS 17478, at *19 (S.D.N.Y. Dec. 2, 1991) (denying motion to freeze

assets when “other equity claimants [would be] deprived of access to their property. That

deprivation is unquestionably a hardship. It would continue for a lengthy period while [plaintiff]

conducted discovery seeking evidence that would support its contentions.”); In re Qwest

Communs. Int’l Sec. Litig., 231 F. Supp. 2d 1066, 1070 (D. Colo. 2002) (“The proposed

injunction would, in essence, likely cause [defendant’s] current financing structure to collapse.

That, in turn, would cause major disruption of the entire…operation…Such injuries to

[defendant] weigh more heavily than the potential harm the plaintiffs seek to avert.”).

       By contrast, Plaintiff’s only proffered “hardship” is his speculative and baseless concern

there will be no assets to satisfy a judgment in the future. See Dubois v. Abode, No. 02-4215,



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2004 U.S. Dist. LEXIS 30596, at *7 n.1 (D.N.J. Mar. 15, 2004) (“given the apparently unlimited

scope of the relief sought, that the hardship to the Defendant from a freezing of all his assets

would considerably outweigh the hardship to the Plaintiff of potentially losing an as yet

uncertain damages remedy.”); Levy v. Young Adult Inst., Inc., No. 13-CV-02861 (JPO) (SN),

2014 U.S. Dist. LEXIS 180324, at *28 (S.D.N.Y. Nov. 21, 2014).

       Although Plaintiff does not address it, his requested relief would also require him to post

a substantial bond before the Court grants any preliminary relief.        Federal Rule of Civil

Procedure 65(c) allows the Court to issue a TRO or preliminary injunction “only if the movant

gives security in an amount the court considers proper to pay the costs and damages sustained by

any party found to have been wrongfully enjoined or restrained.” Security in the form of a bond

“assures the enjoined party that it may readily collect damages from the funds posted in the event

that it was wrongfully enjoined.” Nokia Corp. v. Interdigital, Inc., 645 F.3d 553, 557 (2d Cir.

2011). Given the massive damages that an asset freeze would inflict on Defendants, if the Court

grants Plaintiff’s Motion, it should—before any injunction or TRO takes effect—require a bond

and call for briefing and evidence on the appropriate amount of a bond to protect Defendants

from any damages they will have suffered in the event the Court later grants the pending motions

to dismiss or the asset freeze otherwise is ultimately vacated.

       D.      Plaintiff Has Not Established That the Public Interest, Including the Rights
               of Third Parties, Would Not Be Damaged

       Plaintiff’s Motion also fails to demonstrate that the “public interest would not be

disserved” by the issuance of an injunction. Benihana, 784 F.3d at 895. An injunction would

have unpredictable effects on third parties—including banking customers who depend on

Sberbank’s ability to fulfill its obligations. Notably, the U.S. government has determined not to




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freeze Defendants’ assets, yet Plaintiff asks the Court to take that step in service of his own

interests.

        Consideration of the public interest requires consideration of the effect of preliminary

relief on customers and other non-parties. See Tutor Time Learning Ctrs., LLC v. KOG Indus.,

No. 1:12-CV-4129 (NGG) (RER), 2012 U.S. Dist. LEXIS 162124, at *21 (E.D.N.Y. Nov. 13,

2012). Here, Plaintiff’s Motion requests a freeze of all assets Defendants “manage[] or control”

globally. Proposed Order at 3. Placing limitations on Defendants’ ability to transfer assets that

they “manage” on behalf of clients will have significant but unpredictable effects on the property

of Defendants’ customers, which does not even belong to Defendants.             Further, limiting

Defendants’ ability to expend their own assets likewise will prevent Defendants from allowing

depositors to move funds through the banks’ accounts and meet their obligations to their

customers, employees and third parties. Cf. FDIC v. Engel, 746 F. Supp. 1223, 1224 (S.D.N.Y.

1990) (noting “public interest of maintaining solvency” of banks). For each of these reasons, the

public interest weighs against preliminary relief.

IV.     Plaintiff Has Not Established a Need for a Document Preservation Order or
        Expedited Discovery

        Plaintiff also requests expedited discovery and an order prohibiting spoliation of

evidence. See Proposed Order at 4. Defendants are aware of their document preservation

obligations, which have not changed in any way as a result of current events. Plaintiff has

identified no reason why an “emergency” court order reiterating Defendants’ existing document

preservation obligations is necessary. Plaintiff can seek appropriate relief under Rule 37 of the

Federal Rules of Civil Procedure should Defendants fail to comply with their discovery

obligations in the future.




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       Plaintiff also offers no reason why expedited discovery should commence at this time,

while motions to dismiss are pending, especially the motion to dismiss under the FSIA on

subject-matter jurisdiction grounds. “Because sovereign immunity protects a sovereign from the

expense, intrusiveness, and hassle of litigation, a court must be circumspect in allowing

discovery before the plaintiff has established that the court has jurisdiction over a foreign

sovereign defendant under the FSIA.” See Arch Trading Corp. v. Republic of Ecuador, 839 F.3d

193, 206 (2d Cir. 2016) (internal quotations and citations omitted).

       To obtain expedited discovery, a party must show “(1) irreparable injury, (2) some

probability of success on the merits, (3) some connection between the expedited discovery and

the avoidance of the irreparable injury, and (4) some evidence that the injury will result without

expedited discovery looms greater than the injury that the defendant will suffer if the expedited

relief is granted.” Gidatex, S.r.L. v. Campaniello Imports, Ltd., 13 F. Supp. 2d 417, 420

(S.D.N.Y. 1998) (denying request for expedited discovery as part of motion for injunction). For

all the reasons discussed above, Plaintiff is not able to show irreparable harm or a likelihood of

success on the merits, much less that expedited discovery would avoid irreparable harm or that

any benefit to the Plaintiff would outweigh the burden on Defendants.

       For these reasons, Plaintiff’s request for expedited discovery and an order prohibiting

spoliation of evidence should also be denied.




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                                      CONCLUSION

      For the forgoing reasons, Plaintiff’s Motion should be denied.

Dated: New York, New York
       March 14, 2022

                                           Respectfully submitted,

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